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                    LTD., SAMSUNG ELECTRONICS AMERICA,
                 15 INC. and SAMSUNG
                    TELECOMMUNICATIONS AMERICA, LLC
                 16

                 17                             UNITED STATES DISTRICT COURT

                 18                NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION

                 19
                 20 APPLE INC., a California corporation,        CASE NO. 11-cv-01846-LHK

                 21                Plaintiff,                    DECLARATION OF DAVID L. HECHT
                                                                 IN SUPPORT OF DEFENDANT
                 22          vs.                                 SAMSUNG’S OPPOSITION TO APPLE'S
                                                                 MOTION FOR PARTIAL SUMMARY
                 23 SAMSUNG ELECTRONICS CO., LTD., a             JUDGMENT
                    Korean business entity; SAMSUNG
                 24 ELECTRONICS AMERICA, INC., a New             Date: May 10, 2012
                    York corporation; SAMSUNG                    Time: 1:30 p.m.
                 25 TELECOMMUNICATIONS AMERICA,                  Place: Courtroom 4, 5th Floor
                    LLC, a Delaware limited liability company,   Judge: Hon. Lucy H. Koh
                 26
                                  Defendant.
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                 28

02198.51855/4685846.2                                                               Case No. 11-cv-01846-LHK
                                                                            DECLARATION OF DAVID L. HECHT
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                   1          I, David L. Hecht, declare:

                   2          1.      I am an associate in the law firm of Quinn Emanuel Urquhart & Sullivan, LLP,

                   3 counsel for Samsung Electronics Co., Ltd., Samsung Electronics America, Inc., and Samsung

                   4 Telecommunications America, LLC (collectively “Samsung”). I have personal knowledge of the

                   5 facts set forth in this declaration and, if called upon as a witness, I could and would testify to such

                   6 facts under oath.

                   7          2.      Attached hereto as Exhibit A is a true and correct copy of the "Technologies"

                   8 webpage of the European Telecommunications Standards Institute (“ETSI”) website, available at

                   9 http://etsi.org/WebSite/Technologies/Technologies.aspx, visited on March 30, 2012.

                 10           3.      Attached hereto as Exhibit B1 is a true and correct copy of the ETSI IPR Policy

                 11 approved by the ETSI General Assembly on November 18-19, 1997. This copy of the policy was

                 12 produced by Samsung with Bates Numbers S-ITC-003356882-6887.

                 13           4.      Attached hereto as Exhibit B2 is a true and correct copy of the ETSI IPR Policy

                 14 dated April 8, 2009. This copy of the policy was produced by Samsung with Bates Numbers S-

                 15 794-ITC-005517403-7413.

                 16           5.      Attached hereto as Exhibit C1 is a true and correct copy of the ETSI Guide on

                 17 IPRs approved by the ETSI Board in September 2004. This copy of the guide was produced by

                 18 Samsung with Bates Numbers S-794-ITC-005285649-5672.

                 19           6.      Attached hereto as Exhibit C2 is a true and correct copy of the ETSI Guide on

                 20 IPRs endorsed by ETSI Board #60 on January 25, 2007. This copy of the guide was produced by

                 21 Samsung with Bates Numbers S-ITC-003356833-6855.
                 22           7.      Attached hereto as Exhibit D is a true and correct copy of the ETSI IPR Policy

                 23 FAQs on the ETSI website, available at
                 24 http://etsi.org/WebSite/AboutETSI/IPRsInETSI/IPR_Policy_FAQ.aspx. This copy of the FAQs

                 25 was produced by Samsung with Bates Numbers S-794-ITC-005517414-7416.
                 26           8.      Attached hereto as Exhibit E is a true and correct copy of a declaration issued by

                 27 Samsung to ETSI and dated December 14, 1998. This copy of this declaration was produced by
                 28 Samsung with Bates Number S-794-ITC-005517182.
02198.51855/4685846.2                                                                           Case No. 11-cv-01846-LHK
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                                                                                        DECLARATION OF DAVID L. HECHT
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                   1         9.     Attached hereto as Exhibit F1 is a true and correct copy of an IPR Information
                   2 Statement and Licensing Declaration, issued by Samsung to ETSI and dated September 29, 2003.

                   3 This copy of this statement was produced by Samsung with Bates Numbers S-794-ITC-

                   4 005517283-7304.

                   5         10.    Attached hereto as Exhibit F2 is a true and correct copy of an IPR Information
                   6 Statement and Licensing Declaration, issued by Samsung to ETSI and dated May 16, 2006. This

                   7 copy of this statement was produced by Samsung with Bates Numbers S-794-ITC-

                   8 005517211-7727.

                   9         11.    Attached hereto as Exhibit F3 is a true and correct copy of an IPR Information
                 10 Statement and Licensing Declaration, issued by Samsung to ETSI and dated August 7, 2007. This

                 11 copy of this statement was produced by Samsung with Bates Numbers S-794-ITC-

                 12 005517177-7181.

                 13          12.    Attached hereto as Exhibit F4 is a true and correct copy of an IPR Information
                 14 Statement and Licensing Declaration, issued by Samsung to ETSI and dated July 24, 2008. This

                 15 copy of this statement was produced by Samsung with Bates Numbers S-794-ITC-

                 16 005517228-7232.

                 17          13.    Attached hereto as Exhibit G is a true and correct copy of relevant pages of
                 18 Apple's Responses to Samsung's Fourth and Fifth Sets of Requests for Admissions, served by

                 19 Apple on March 10, 2012.

                 20          14.    Attached hereto as Exhibit H is a
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                 23          15.    Attached hereto as Exhibit I is a true and correct copy of Samsung's Complaint for
                 24 Patent Infringement against Apple (Case No. 5:11-cv-02079-LHK), filed on April 27, 2011.

                 25          16.    Attached hereto as Exhibit J1 is
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02198.51855/4685846.2                                                                        Case No. 11-cv-01846-LHK
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                                                                                     DECLARATION OF DAVID L. HECHT
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                   1        17.   Attached hereto as Exhibit J2 is
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                   5        18.   Attached hereto as Exhibit J3 is
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                   8        19.   Attached hereto as Exhibit J4 is
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                 11         20.   Attached hereto as Exhibit J5 is
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                 14         21.   Attached hereto as Exhibit J6 is
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                 17         22.   Attached hereto as Exhibit J7
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                 20         23.   Attached hereto as Exhibit J8 is a
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                 23         24.   Attached hereto as Exhibit J9 is
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                 26         25.   Attached hereto as Exhibit J10 is
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02198.51855/4685846.2                                                              Case No. 11-cv-01846-LHK
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                                                                           DECLARATION OF DAVID L. HECHT
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                   1         26.    Attached hereto as Exhibit J11 is
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                   4         27.    Attached hereto as Exhibit K1 is
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                   7         28.    Attached hereto as Exhibit K2 is
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                 10          29.    Attached hereto as Exhibit K3 is
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                 13          30.    Attached hereto as Exhibit L is a true and correct copy of relevant pages of Apple's
                 14 Objections and Responses to Samsung's Fourth Set of Interrogatories, served by Apple on March

                 15 10, 2012.

                 16          31.    Attached hereto as Exhibit M is
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                 20          32.    Attached hereto as Exhibit N is a true and correct copy of a publication entitled "Is
                 21 the Patent Ambush Prerequisite Met? Assessing the Extent of Ex Ante IPR Disclosure within

                 22 Standard Setting" by Anne Layne-Farrar, published August 18, 2011. An electronic copy of this

                 23 publication is also available online at http://ssrn.com/abstract=1912198.

                 24          33.    Attached hereto as Exhibit O1 is a true and correct copy of an IPR Information
                 25 Statement and Licensing Declaration, issued by Apple to ETSI and dated July 19, 2007. This

                 26 copy of this statement was produced by Samsung with Bates Numbers S-ITC-003126935-6941.

                 27          34.    Attached hereto as Exhibit O2 is a true and correct copy of an IPR Information
                 28 Statement and Licensing Declaration, issued by Apple to ETSI and dated November 11, 2011.

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                   1 This copy of this statement was produced by Samsung with Bates Numbers S-ITC-

                   2 003126942-6968.

                   3         35.     Attached hereto as Exhibit P1 is a true and correct copy of relevant pages of Boris
                   4 Teksler's February 24, 2012 deposition transcript.

                   5         36.     Attached hereto as Exhibit P1 is a true and correct copy of relevant pages of Gert
                   6 Jan Van Lieshout's November 4, 2011 deposition transcript. Mr. Van Lieshout is a Samsung

                   7 employee.

                   8         37.     Attached hereto as Exhibit Q1 is a true and correct copy of U.S. Patent No.
                   9 6,928,604.

                 10          38.     Attached hereto as Exhibit Q2 is a true and correct copy of U.S. Patent No.
                 11 7,200,792.

                 12          39.     Attached hereto as Exhibit Q3 is a true and correct copy of U.S. Patent No.
                 13 7,362,867.

                 14          40.     Attached hereto as Exhibit Q4 is a true and correct copy of U.S. Patent No.
                 15 7,386,001.

                 16          41.     Attached hereto as Exhibit Q5 is a true and correct copy of U.S. Patent No.
                 17 7,675,941.

                 18          42.     Attached hereto as Exhibit Q6 is a true and correct copy of U.S. Patent No.
                 19 7,447,516.

                 20          43.     Attached hereto as Exhibit Q7 is a true and correct copy of U.S. Patent No.
                 21 7,050,410.

                 22          44.     Attached hereto as Exhibit R is a true and correct copy of the European
                 23 Commission's decision on Case No COMP/M.6381 – Google/Motorola Mobility. The decision is

                 24 available at

                 25 http://ec.europa.eu/competition/mergers/cases/decisions/m6381_20120213_20310_2277480_EN.p

                 26 df.

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                                                                                      DECLARATION OF DAVID L. HECHT
                        Case 5:11-cv-01846-LHK Document 847-3 Filed 04/02/12 Page 7 of 9




                   1         45.    Attached hereto as Exhibit S1 is a true and correct copy of a letter from Peter J.
                   2 Kolovos of Wilmer Hale to Rachel Herrick Kassabian and Diane Hutnyan of Quinn Emanuel,

                   3 dated March 6, 2012.

                   4         46.    Attached hereto as Exhibit S2 is a true and correct copy of a letter from Jason
                   5 Barlett of Morrison and Foerster to Diane Hutnyan of Quinn Emanuel, dated March 14, 2012.

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                                                                                      DECLARATION OF DAVID L. HECHT
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                   2        I declare under penalty of perjury that the foregoing is true and correct. Executed in New

                   3 York, New York on April 2, 2012.

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                   6                                                      /s/ David L. Hecht

                   7                                                      David L. Hecht

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                   1 GENERAL ORDER ATTESTATION

                   2
                               I, Victoria Maroulis, am the ECF user whose ID and password are being used to file the
                   3
                        foregoing document. I hereby attest pursuant to General Order 45.X.B. that concurrence in the
                   4
                        electronic filing of this document has been obtained from David L. Hecht.
                   5

                   6
                                                                              /s/ Victoria Maroulis
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                                                                                       DECLARATION OF DAVID L. HECHT
